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                          1   Ross C. Goodman, Esq.
                              Nevada Bar No. 7722
                          2   GOODMAN LAW GROUP, P.C.
                              520 S. Fourth Street, Second Floor
                          3   Las Vegas, Nevada 89101
                              Telephone: (702) 383-5088
                          4   Facsimile: (702) 385-5088
                              Email: ross@rosscgoodman.com
                          5
                              Attorney for Defendant
                          6   BENJAMIN WOOD
                          7

                          8                                  UNITED STATES DISTRICT COURT
                          9
                                                                   DISTRICT OF NEVADA
                       10

                       11
                              NICOLE GREENE, an individual,
                       12                                                   Case No. 2:20-cv-00818-JAD-NJK
                                                Plaintiff,
                       13
                              vs.                                           DEFENDANT WOOD’S MOTION
                       14                                                   FOR RULE 11 SANCTIONS
                              BENJAMIN WOOD, an individual; and
                       15     FRONTIER AIRLINES, INC., a Foreign
                              Corporation; DOES 1 through 20,
                       16     inclusive; ROE CORPORATIONS, 1
                              through 20, inclusive;
                       17
                                                Defendants.
                       18

                       19
                                     Defendant BENJAMIN WOOD (“Defendant”), by and through undersigned counsel, files
                       20
                              this Motion for Rule 11 sanctions against Plaintiff NICOLE GREENE (“Plaintiff”) and her Firm.
                       21

                       22

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                       27
                              ///
                       28                                               Page 1 of 9
G OODMAN L AW G ROUP
A Professional Corporation
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                          1
                                     This motion is based upon the following memorandum of points and authorities, the
                          2
                              pleadings and papers on file, the exhibits, and any oral argument of counsel to be made at the time
                          3
                              of the hearing.
                          4
                                     Dated this 1st day of June 2020.
                          5
                                                                                   Respectfully submitted,
                          6
                                                                                   GOODMAN LAW GROUP, P.C.
                          7
                                                                                     /s/ Ross C. Goodman, Esq.
                          8                                                        ROSS C. GOODMAN, ESQ.
                                                                                   Nevada Bar No. 7722
                          9                                                        520 S. Fourth Street, Second Floor
                                                                                   Las Vegas, Nevada 89101
                       10
                                                                                   Attorney for Defendant
                       11                                                          BENJAMIN WOOD
                       12

                       13

                       14                         MEMORANDUM OF POINTS AND AUTHORITIES

                       15                                                     I.

                       16                                            INTRODUCTION

                       17            The parties met while working for Frontier Airlines and had a consensual overnight stay at

                       18     the crew hotel in Las Vegas, Nevada on January 20, 2018. The next morning Plaintiff texts “Aww,

                       19     you’re so sweet. Yeah, I always have a great time hanging out with you. I wish we could talk

                       20     things further, but I’ll see what I can do about it.” The parties did not physically see each other

                       21     after that night in Las Vegas in mid-January 2018. Plaintiff laments to Defendant “You were my

                       22     first everything, so naturally, I wanted more than just friendship. And when you told me that night

                       23     in Las Vegas that you didn’t feel the same way, I was disappointed and upset.”

                       24            The flight itinerary shows that Defendant did not fly back into Las Vegas after that night

                       25     through February 2018 and the text messages in February proves that they were not with each

                       26     other or in Las Vegas. Nonetheless, Plaintiff and counsel ignored these text messages and filed

                       27     the Complaint on January 31, 2018 and misrepresented the date of the Las Vegas trip as “early”

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                          1
                              February to avoid the two-year statute of limitations.
                          2
                                     It is evident that this action was designed solely to harass, cause embarrassment and danger
                          3
                              to Defendant’s reputation. The Complaint is factually baseless, time-barred and filed for an
                          4
                              improper purpose warranting Rule 11 sanctions and attorney’s fees to remedy this abuse of the
                          5
                              legal system.
                          6
                                                                         II.
                          7
                                                                  STATEMENT OF FACTS
                          8
                                     Plaintiff filed this lawsuit alleging three causes of action against Defendant Benjamin
                          9
                              Wood for: (1) assault; (2) battery; and (3) intentional infliction of emotional distress (“IIED”).
                       10
                              Plaintiff alleges that the claims giving rise to the action resulted from an overnight stay at a hotel
                       11

                       12     in Las Vegas Nevada. See Compl. §§11-26. Plaintiff is a flight attendant and Defendant is a pilot

                       13     for Frontier Airlines. See Compl. §§10-11. They were both in Las Vegas on an “overnight stay”
                       14     at the Grand Hotel in “early” February. See Compl. §§11-12. Defendant went to Plaintiff’s hotel
                       15
                              room. See Compl. §§16.
                       16
                                     Contrary to these allegations, the text message describing the meeting in Las Vegas at the
                       17
                              Grand Hotel was sent on January 19-20, 2018 and not in “early” February. See Text Messages
                       18

                       19     attached as Exhibit 1. Plaintiff acknowledged that she a “great time” after leaving Defendant’s

                       20     hotel room:

                       21                     BW: K. I’m heading to room 1736. I’m gonna change. Meet me
                                              there instead
                       22

                       23                     NG: Okay, I’m on my way up

                       24                     BW: Did you have fun last night? I wish Id had time to walk you to
                                              your car . . .
                       25
                                              NG: Aww, you’re so sweet. Yeah, I always have a great time
                       26                     hanging out with you. I wish we could talk things further, but I’ll
                       27                     see what I can do about it.

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                          1
                              See Exh. 1.
                          2
                                     Further, the flight itinerary shows that Defendant did not fly back into Las Vegas after that
                          3
                              mid-January night through February 2018. See Frontier Airlines Flight Itinerary attached as
                          4
                              Exhibit 2. and the text messages in February proves that they were not with each other or in Las
                          5

                          6   Vegas. It is no surprise that the text messages in “early” February also confirm the parties were

                          7   not in Las Vegas. On February 2, 2018, the parties have this exchange:
                          8                  NG: “Do you even want to be friends with me? Or are you just using
                                             me until a better girl comes along?
                          9

                       10                    BW: I’m at work right now, but where did that come from? Do you
                                             feel used?
                       11
                                             NG: Alright, well I’m not going to bother you at work. But yes, I
                       12                    do
                       13
                                             BW: Ok, then I sincerely apologize for making you feel that way. I
                       14                    think what you are looking for is not the same as what I am looking
                                             for.
                       15
                                             NG: What is it that you’re looking for?
                       16

                       17                    BW: I am now interested in friendship or if you rather avoid me I
                                             understand
                       18
                                             NG: No, I don’t want to avoid you. I want friendship too.
                       19
                              See Exh. 1.
                       20
                                     In stark contrast to non-consensual contact, Plaintiff was seeking to be more than just
                       21
                              friends. In addition, Plaintiff one week later is proposing sex as reflected in the following text
                       22
                              message from February 9, 2018:
                       23
                                             NG: Hey, sorry I got upset the other day. I really hope you’re doing
                       24                    well. How’s your sister and baby?
                       25
                                             BW: No worries. My sister is great and very happy being a mom
                       26

                       27

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                          1
                                            NG: That’s good to hear. So I went to an OBGYN this morning
                          2                 thinking I would get some answers, but he said everything seemed
                                            normal. So now I’m really discouraged
                          3
                                            BW: Normal is good
                          4
                                            NG Yeah, that’s true. But I was hoping he could give me answers as
                          5
                                            to why you and I keep having problems. Putting it bluntly, my
                          6                 hymen is already torn. If you want to try again, maybe we can use
                                            alcohol.
                          7
                                     Despite Plaintiff referencing “hymen” and “alcohol”, Plaintiff falsely alleges that
                          8
                              Defendant suggested that Defendant drink alcohol and “callously” responded that he needed to
                          9

                       10     “break her hymen.” See Compl. §§21, 24.

                       11            On February 11, 2018, Plaintiff laments her relationship with Defendant is only as friends
                       12     and nothing more involved:
                       13
                                            Correct me if I’m wrong, but I feel like you’re upset because I
                       14                   accused you of using me and I’m really, really sorry because I feel
                                            like I ruined everything. I just want you to understand things from
                       15                   my perspective. You were my first everything, so naturally, I
                                            wanted more than just friendship. And when you told me that night
                       16                   in Las Vegas that you didn’t feel the same way, I was disappointed
                       17                   and upset. But I’ve come to terms with how you feel and I really
                                            want things to go back to normal because I don’t like the way things
                       18                   are right now. I totally understand that you don’t want to be in a
                                            relationship and I respect that. I just can’t handle you being upset
                       19                   with me and not responding to me because you are so special to
                                            me.
                       20

                       21            Many months later, Plaintiff further reveals on June 28, 2018 that she was in “bad place”,

                       22     “felt ashamed” for “developing feelings” and that she felt like a failure “once you realized we

                       23     weren’t going to be able to have sex, you started distancing yourself from me.”
                       24
                                     Because the Complaint was time-barred and the substantive allegations false, Defendant
                       25
                              served Plaintiff’s counsel with a Rule 11 letter on May 8, 2020 demanding dismissal of the
                       26
                              Complaint. Nonetheless, Plaintiff and counsel refused to dismiss the Complaint. See Exh. 3.
                       27

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                          1
                                                                           III.
                          2
                                                                        ARGUMENT
                          3
                                     A. Legal Standard
                          4
                                     Rule 11(b) provides, in relevant part:
                          5
                                             By presenting to the court a pleading, written motion, or other paper
                          6
                                             – whether by signing, filing, submitting, or later advocating it – an
                          7                  attorney or unrepresented party certifies that to the best of the
                                             person’s knowledge, information, and belief, formed after an
                          8                  inquiry reasonable under the circumstances: (1) it is not being
                                             presented for any improper purpose, such as to harass, cause
                          9                  unnecessary delay, or needlessly increase the cost of litigation; (2)
                                             the claims, defenses, and other legal contentions are warranted by
                       10
                                             existing law or by a nonfrivolous argument for extending,
                       11                    modifying, or reversing existing law or for establishing new law;
                                             [and] (3) the factual contentions have evidentiary support or, if
                       12                    specifically so identified, will likely have evidentiary support after
                                             a reasonable opportunity for further investigation or discovery[.]
                       13

                       14     Fed. R. Civ. P. 11(b)(1)-(3).

                       15     “Rule 11 is intended to deter baseless filings in district court and imposes a duty of ‘reasonable

                       16     inquiry’ so that anything filed with the court is well grounded in fact, legally tenable, and not
                       17     interposed for any improper purpose.” Islamic Shura Council of S. Cal. v. Federal Bureau of
                       18
                              Investigation, 757 F.3d 870, 872 (9th Cir. 2014) (per curiam) (internal quotation marks omitted).
                       19
                              “One of the fundamental purposes of Rule 11 is to reduce frivolous claims, defenses or motions
                       20
                              and to deter costly meritless maneuvers, [thereby] avoid[ing] delay and unnecessary expense in
                       21

                       22     litigation.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (internal quotation marks

                       23     omitted; first alteration added).

                       24            “Among other grounds, a district court may impose Rule 11 sanctions if a paper filed with
                       25
                              the court is for an improper purpose, or if it is frivolous.” G.C. & K.B. Invs., Inc. v. Wilson, 326
                       26
                              F.3d 1096, 1109 (9th Cir. 2003). “Absent exceptional circumstances, a law firm must be held
                       27
                              jointly responsible for a violation committed by its partner, associate, or employee.” Fed. R. Civ.
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                          1
                              P. 11(c)(1). When “a complaint is the primary focus of Rule 11 proceedings, a district court must
                          2
                              conduct a two-prong inquiry to determine (1) whether the complaint is legally or factually baseless
                          3
                              from an objective perspective, and (2) if the attorney has conducted a reasonable and competent
                          4
                              inquiry before signing and filing it.” Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir. 2005)
                          5

                          6   (internal quotation marks omitted). “As shorthand for this test, [courts] use the word ‘frivolous’ to

                          7   denote a filing that is both baseless and made without a reasonable and competent inquiry.” Id.
                          8   (internal quotation marks and emphasis omitted). “[T]he mere existence of one non-frivolous claim
                          9
                              in a complaint does not immunize it from Rule 11 sanctions.” Id. at 677 (internal quotation marks
                       10
                              omitted).
                       11
                                       B. All of Plaintiff’s Claims are Time-Barred
                       12
                                       The claim for assault, battery and intentional infliction of emotional distress (“IIED”) is
                       13
                              barred by the two-year statute of limitations. 1                See NRS 11.190(4)(c). Specifically, NRS
                       14
                              11.190(4)(c) applies to “an action for libel, slander, assault, battery, false imprisonment or
                       15
                              seduction and NRS 11.190(4)(d) applies to “an action to recover damages for injuries to a person
                       16
                              or for the death of a person caused by the wrongful act or neglect of another.”
                       17
                                       Further, a statute-of-limitations defense, if “apparent from the face of the complaint,” may
                       18
                              properly be raised in a motion to dismiss. Conerly v. Westinghouse Elec. Corp., 623 F.2d 117,
                       19
                              119 (9th Cir.1980). “We accept as true all well-pleaded allegations of material fact” but are not
                       20
                              “required to accept as true allegations that contradict exhibits attached to the Complaint or matters
                       21
                              properly subject to judicial notice, or allegations that are merely conclusory, unwarranted
                       22
                              deductions of fact, or unreasonable inferences.” Daniels–Hall v. Nat’l Educ. Ass’n, 629 F.3d 992,
                       23
                              998 (9th Cir.2010).
                       24
                                       Plaintiff alleges that the claims giving rise to this action resulted from an overnight stay at
                       25
                              a hotel in Las Vegas Nevada in “early” February is flatly contradicted by her text messages. The
                       26
                              1
                                The causes of action against Defendant Wood is time-barred and will be the subject of a motion to dismiss for failure
                       27     to state a claim under Federal Rule of Civil Procedure 12(b)(6).

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                          1
                              text messages describing the overnight stay occurred on January 19-20, 2018. Nonetheless,
                          2
                              Plaintiff deliberately changed the date from the known mid-January timeframe to “early” February
                          3
                              to avoid the obvious problem that the Complaint filed on January 31, 2020 was right inside of the
                          4
                              statute of limitation expiring resulting in a baseless and frivolous filing.
                          5
                                     The text messages clearly show that the parties engaged in consensual contact on January
                          6
                              20, 2018. Plaintiff’s counsel should have undertaken a reasonable inquiry to determine these
                          7
                              claims were time-barred by the two-year statute of limitations. See Cervantes Orchards &
                          8
                              Vineyards, LLC v. Deere & Co., 731 F. App’x 570, 573 (9th Cir. 2017) (affirming district court’s
                          9
                              imposition of Rule 11 sanctions and noting that claims were frivolous where they “were plainly
                       10
                              barred by applicable statutes of limitations.”). Here, it cannot be disputed that the Complaint is
                       11
                              not well grounded in fact and was made without reasonable and competent inquiry prior to filing.
                       12
                                     Under the circumstances, this Court should find Plaintiff’s filing of this Complaint was
                       13
                              frivolous and filed for an improper purpose of harassing and embarrassing Defendant, thus
                       14
                              warranting sanctions against Plaintiff and her firm jointly. See G.C. & K.B. Investments, 326 F.3d
                       15
                              at 1109 (“a district court may impose Rule 11 sanctions if a paper filed with the court is for an
                       16
                              improper purpose, or if it is frivolous”); Fed. R. Civ. P. 11(c)(1) (“Absent exceptional
                       17
                              circumstances, a law firm must be held jointly responsible for a violation committed by its partner,
                       18
                              associate, or employee.”).
                       19
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                          1
                                                                              IV.
                          2
                                                                        CONCLUSION
                          3
                                     Based on the foregoing, Defendant requests the Court enter an order of sanctions against
                          4
                              Plaintiff and her firm and award reasonable attorney’s fees, costs and expenses incurred in filing
                          5
                              this motion.
                          6

                          7
                                     Dated this 1st day of June 2020.
                          8
                                                                                    Respectfully submitted,
                          9
                                                                                    GOODMAN LAW GROUP, P.C.
                       10
                                                                                      /s/ Ross C. Goodman, Esq.
                       11                                                           ROSS C. GOODMAN, ESQ.
                                                                                    Nevada Bar No. 7722
                       12                                                           520 S. Fourth Street, Second Floor
                                                                                    Las Vegas, Nevada 89101
                       13
                                                                                    Attorney for Defendant
                       14                                                           BENJAMIN WOOD
                       15

                       16

                       17

                       18                                      CERTIFICATE OF SERVICE
                       19            I hereby certify that on the 1st day of June 2020 I electronically filed the above and
                       20
                              foregoing Defendant’s Motion for Rule 11 Sanctions using the CM/ECF system which will send
                       21
                              notice of electronic filing to all CM/EFC registrants.
                       22

                       23

                       24                                                            /s/ Tiffanie Johannes
                                                                                    Employee of Goodman Law Group, P.C.
                       25

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G OODMAN L AW G ROUP
A Professional Corporation
 520 S. Fourth St., 2nd Fl.
Las Vegas, Nevada 89101
     (702) 383-5088
